          USDC
AO 450 (Rev.         IN/NDincase
             11/11) Judgment         2:13-cv-00265-JD-JEM
                             a Civil Action                           document 65 filed 06/01/15 page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Northern District of Indiana

DEBORAH RENAY NELSON-SEAMSTER
                          Plaintiff                               )
                       v.                                         )       Civil Action No.                    2:13CV265
MANSARDS APARTMENTS                                               )
(Terminated 2/11/2015)                                            )
EDGEWATER SYSTEMS                                                 )
                          Defendant


                                         JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

’ the plaintiff (name)                                                                                      recover from the
defendant (name)                                                                                               the amount of
                                                                         dollars ($               ), which includes prejudgment
interest at the rate of                %, plus post judgment interest at the rate of             % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

X other: summary judgment is entered in favor of Defendant Edgewater Systems and AGAINST plaintiff Deborah
Renay Nelson-Seamster
                                                                                                                                  .

This action was (check one):

’ tried by a jury with Judge                                                                       presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                       without a jury and the above decision
was reached.

X decided by Judge           Jon E. DeGuilio                                                on a motion for summary
judgment
                                                                                                                                  .

Date:          June 1, 2015                                              CLERK OF COURT

                                                                                                s/T. Castillo
                                                                                       Signature of Clerk or Deputy Clerk
